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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK                                        Case No. 2:21-cv-05017-PCK-SIL
 --------------------------------------------------------------- x
 NOE GONZALEZ, individually and on behalf of all
 others similarly situated,

                                                     Plaintiff,

                  -against-

 THE CHEESECAKE FACTORY RESTAURANTS,
 INC. d/b/a THE CHEESECAKE FACTORY,

                             Defendant.
 --------------------------------------------------------------- x

             DEFENDANT’S REPLY IN SUPPORT OF MOTION TO STAY CASE
                   AND TO COMPEL INDIVIDUAL ARBITRATION

         Gonzalez has filed an 18-page brief with 30 footnotes in an attempt to muddy the water

 and to call into question whether the Spanish version of the arbitration agreement is an accurate

 translation, admissible as evidence, and compels arbitration. Those efforts fail.

         In terms of being an accurate translation, TCFI has produced both the English and

 Spanish versions of the arbitration agreement as well as a declaration from one its corporate

 directors verifying the translation from English to Spanish by a third-party translation company.

 In response, Gonzalez has produced a report from a purported Spanish expert who admits that

 TCFI’s translation is a literal, word-for-word translation but asserts in her legal opinion that the

 agreement does not compel arbitration. The Court should strike the report because Gonzalez did

 not disclose the expert and because the expert’s report is chock full of opinions on legal issues

 that are for this Court to decide.

         In terms of being admissible evidence, Gonzalez argues that the Spanish version of the

 arbitration agreement is inadmissible because it is not accompanied by a certified translation, that

 the Lewis declaration is inadmissible because it is not based on personal knowledge, and that the

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 Lewis declaration exhibits are inadmissible hearsay. None of these arguments hold water. TCFI

 has authenticated the Spanish version through the Lewis declaration and an accompanying

 certified English version. The Lewis declaration is based on personal knowledge, which is

 broadly defined and which can by acquired through others and through a review of employment

 records. The Lewis declaration exhibits are admissible too because they fall within the business

 records exception to the rule against hearsay.

        In terms of compelling arbitration, Gonzalez argues that the arbitration agreement is not

 clear, is not a condition of employment, is illusory, and is voluntary based on the use of the word

 “participate.” Again, none of these arguments hold water. The agreement is clear and concise: if

 any employment dispute arises, “I agree to participate in arbitration proceedings”/”[Y]o acepto

 participar en un arbitraje.” The arbitration agreement is also a condition of employment: the

 agreement uses the words “as a condition of and as consideration for the offer of employment by

 the Company”/“como condición de, y consideración de la oferta de empleo con la Compañía” in

 relation to arbitration. The arbitration agreement is not illusory: courts reviewing arbitration

 agreements in employee handbooks—including the very handbook at issue—have rejected this

 argument on multiple grounds and have held that general disclaimers in handbooks do not render

 arbitration agreements in those handbooks unenforceable. Nor is the arbitration agreement

 voluntary merely because the word “participate” is used. This argument is absurd for many

 reasons chief of which is Merriam-Webster, which defines “participate” as “to take part,”

 meaning TCFI employees like Gonzalez were agreeing to take part in arbitration proceedings.

        Because TCFI’s arbitration agreement with Gonzalez is an accurate translation,

 admissible as evidence, and compels arbitration, this Court should follow the three other courts

 who have upheld the exact same agreement and order him to arbitration. The order to compel



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 should be for individual arbitration because the agreement does not authorize class actions.

                                           ARGUMENT

 I.     The Spanish version of the arbitration agreement is an accurate translation.

        Gonzalez has produced an expert report from Nydia Flores who opines that the Spanish

 version of the arbitration agreement does not compel arbitration as a matter of law. Gonzalez has

 done so in knowing and willful violation of FRCP 26(a)(2), which “mandates the disclosure of

 the identities of expert witnesses, as well as other related information such as their opinions and

 qualifications,” and FRCP 37(c)(1), which is intended “to prevent the sandbagging of adverse

 parties” and “prohibits the use of expert opinions that were not timely disclosed under” FRCP

 26(a)(2). Lujan v. Cabana Management, 284 F.R.D. 50, 77 (E.D.N.Y. 2012). TCFI moves to

 strike Flores’ expert report under FRCP 26(a)(2) and 37(c)(1) because Gonzalez never disclosed

 her identity nor her opinions and qualifications. This failure severely prejudices TCFI by

 depriving it of the opportunity to depose Flores and to offer a rebuttal expert report.

        Another reason to strike Flores’ report is the content of the report itself. Flores says in her

 report that the Spanish version of the arbitration agreement “does not plainly compel or require

 arbitration of employment disputes, nor does it plainly state that the arbitral resolution will be

 binding on the employee.” See Flores Report at 2. She goes on to say that TCFI “is not bound by

 the employee handbook” and “reserved the right to change the terms of the agreement at any

 time.” Id. at 4. She then states that “the consent of both” TCFI and Gonzalez is required “in order

 to trigger arbitration.” Id. at 5. She concludes her report by opining that the “language does not

 convey that arbitration is ‘mandatory,’ ‘binding,’ or the ‘exclusive remedy.’” Id. In other words,

 Flores is giving her legal opinion on how the Spanish version of the arbitration agreement ought

 to be interpreted. The Second Circuit rejected a similar attempt in Marx & Co., Inc. v. Diners’



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 Club, 550 F.2d 505, 508 (2nd Cir. 1977), where it held that the district court erred by allowing an

 expert witness called by the plaintiffs “to give his opinion as to the legal obligation of the parties

 under the contract.” Id. at 508. Flores should not be permitted to interpret the arbitration

 agreement nor should she be allowed to offer her legal opinions on the agreement—subjects for

 which she is woefully unqualified to offer opinion testimony. Her expert report should therefore

 be stricken. See US v. Bilzerian, 926 F.2d 1285, 1294 (2d Cir. 1991) (distinguishing between

 “factual conclusions that may be included in an expert’s testimony” and “opinions embodying

 legal conclusions that encroach upon the court’s duty to instruct on the law”); Hygh v. Jacobs,

 961 F.2d 359, 363 (2d Cir. 1992) (“This circuit is in accord with other circuits in requiring

 exclusion of expert testimony that expresses a legal conclusion.”); Scott v. Chipotle Mexican

 Grill, 315 F.R.D. 33, 48 (S.D.N.Y. 2016) (“[C]ourts exclude expert testimony that provides legal

 opinions, legal conclusions, or interprets legal terms; those roles fall solely within the province

 of the court.”); 3 Corbin on Contracts § 554 at 227 (1960) (“Construction (of a contract) is

 always a matter of law for the Court.”) (cited with approval by Marx).

        Even if the Court declined to strike Flores’ report, it would still have no bearing on the

 outcome of TCFI’s motion to compel arbitration. Flores admits that TCFI’s translation of the

 arbitration agreement from English to Spanish is a literal, word-for-word translation. See Flores

 Report at 2-3. She simply states that she would have translated it differently. Leaving Flores

 aside, TCFI has produced extensive evidence in the form of the Barbara Lewis declaration and

 the English and Spanish versions of the arbitration agreement demonstrating that the Spanish

 version is true and accurate. See Barbara Lewis Supplemental Declaration (“Lewis Supp.




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 Decl.”)1 ¶¶ 6-10 & Exs. A-C. A side-by-side comparison of the English and Spanish versions of

 the arbitration agreement leave no doubt that they are identical and that TCFI had no intention,

 as Gonzalez implies, of misleading Spanish speakers as to the terms of arbitration:

  English Version of Arbitration Agreement                    Spanish Version of Arbitration Agreement
 “I recognize that differences may arise between             “Reconozco que pueden surgir diferencias
 me and the Company during, or following, my                 entre la Compañía y yo, durante y después de
 employment with the Company. I agree to                     mi empleo con la Compañía. Estoy de acuerdo
 participate in impartial dispute-resolution                 en participar en un procedimiento de
 proceedings as a condition of and as                        resolución de disputa imparcial, como
 consideration for the offer of employment by                condición de, y consideración de la oferta de
 the Company. If I, or the Company, determine                empleo con la Compañía. Si yo, o la
 that the Company's internal procedures for                  Compañía, determinamos que los
 handling claims (including but not limited to,              procedimientos internos de la Compañía para
 reporting claims to my manager, the Area                    manejar los reclamos (incluyen pero no están
 Director of Operations, the CARELINE, and/or                limitados a reportar los reclamos al gerente, al
 the Staff Relations Department), have not                   Director del Area de Operaciones a
 resulted in a mutually acceptable resolution of             CARELINE, y/o al Departamento de
 disputes between me and the Company, I agree                Relaciones del Personal), no han dado como
 to participate in arbitration proceedings.”                 resultado una aceptable resolución de una
                                                             disputa entre la Compañía y yo, yo acepto
                                                             participar en un arbitraje.”
 II.     The Spanish version of the arbitration agreement is admissible.

         Gonzalez contends that the Spanish version of the arbitration agreement has not been

 properly authenticated by TCFI and therefore is not admissible evidence. As the Second Circuit

 has said, however, “[t]he bar for authentication is not particularly high.” US v. Gagliardi, 506

 F.3d 140, 151 (2d Cir. 2007). “Generally, a document is properly authenticated if a reasonable

 juror could find in favor of authenticity, a standard of reasonable likelihood, that we have

 described as minimal.” Id. (internal quotation marks omitted).

         Here, TCFI has met its minimal burden of authenticating the Spanish version of the
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   TCFI submitted a declaration from Lewis as part of its opening motion. The declaration was based on personal
 knowledge within the meaning of FRE 602 and established that the Spanish version of the arbitration agreement was
 accurate. The declaration exhibits fit within the business records exception rule in FRE 803(6). TCFI’s position is
 that the original declaration and attached exhibits are admissible and satisfy TCFI’s evidentiary burden for its
 motion. TCFI nevertheless in an abundance of caution is submitting a supplemental declaration from Lewis as part
 of its reply and in direct response to the undisclosed and unfounded attacks made by Gonzalez in his opposition.



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 arbitration agreement (1) by providing testimony from one of its corporate directors on the

 authenticity of the Spanish version and (2) by providing the accompanying certified English

 translation. With regard to (1), Lewis has testified under oath that TCFI worked closely with a

 third-party translation company who certified the translation of the arbitration agreement from

 English to Spanish. See Lewis Supp. Decl. ¶ 7. And with regard to (2), Lewis attached a true and

 accurate copy of the accompanying English version of the arbitration agreement which she as a

 fluent English speaker certified as authentic. See id. Ex. A. This is the same English version

 reviewed by the courts in the Arizona, Maryland, and Tennessee TCFI arbitration agreement

 cases. EEOC v. Cheesecake Factory, Inc., No. CV08-1207PHXNVW, 2009 WL 1259359 (D.

 Ariz. May 6, 2009); Sedelnikova v. The Cheesecake Factory Rest., Inc., No. CIV. A. AW-09-

 2398, 2010 WL 2367387 (D. Md. June 7, 2010); Smith et. al. v. The Cheesecake Factory

 Restaurants, Inc. et. al., No. 3:06-00829 (Doc. No. 107). For these reasons, the string of cases

 cited by Gonzalez are easily and readily distinguishable: the courts in these cases only had

 foreign language documents before them without any accompanying declarations and certified

 English translations. Because we have those here, the Spanish version of TCFI’s arbitration

 agreement is authentic and thus admissible evidence. Gagliardi, 506 F.3d at 151.

 III.   The Lewis declaration and exhibits are admissible.

        Gonzalez argues that the Lewis declaration is admissible because it “is not based upon

 personal knowledge” as Lewis “does not profess to have any personal knowledge of the

 statements made in her declaration.” Opp. at 6. Gonzalez’s argument is circular and speculative.

 It is also demonstrably false: Lewis has testified at length about the basis for her personal

 knowledge of the facts relevant to TCFI’s motion. Specifically, Lewis testified that she has

 worked at TCFI for over 25 years including from 1997 to 2020 as Director of Accounting and



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 Corporate Operations Support; that as Director of Accounting and Corporate Operations Support

 she hired, supervised, trained, directed, and supervised bookkeepers at TCFI’s New York

 restaurants; that she directed and supervised the New York bookkeepers on the policies and

 procedures for distributing and communicating arbitration agreements to employees; that she

 was familiar with and knowledgeable about TCFI’s “roll-out” of arbitration agreements to

 employees in New York; that she regularly accessed and reviewed TCFI’s records on arbitration

 agreements for New York employees; that she reviewed Gonzalez’s employment records

 (including his signed arbitration agreement); that she communicated regularly with the

 bookkeeper at the Huntington Restaurant; and that TCFI worked closely with the third-party

 translation service that translated the arbitration agreement from English to Spanish. See Lewis

 Supp. Decl. ¶¶ 2-10. This is more than enough to satisfy the FRE 602 personal knowledge

 standard. See U.S. Info. Sys., Inc. v. Int'l Bhd. of Elec. Workers Loc. Union No. 3, No. 00 CIV.

 4763 RMB JCF, 2006 WL 2136249, at *11 (S.D.N.Y. Aug. 1, 2006) (holding that FRE 602

 personal knowledge standard is not “narrowly defined”); see also CIT Bank N.A. v. Elliott, No.

 15CV4395JSARL, 2018 WL 1701947, at *5 (E.D.N.Y. Mar. 31, 2018) (finding that affidavit

 testimony of witness was “admissible because it is based on personal knowledge that she gained

 by examining business records”).

        What Gonzalez seems to be arguing is that Lewis can only have personal knowledge

 under FRE 602 if she personally witnessed Gonzalez grab a pen and sign his initials next to the

 arbitration agreement. Judge Posner sliced this argument in two when he stated that “most

 knowledge [is] social” and thus “[k]nowledge acquired through others may still be personal

 knowledge within the meaning of” FRE 602. Agfa-Gevaert, A.G. v. A.B. Dick Co., 879 F.2d

 1518, 1523 (7th Cir. 1989). New York federal judges agree with Judge Posner. See, e.g., U.S.



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 Info. Sys., 2006 WL 2136249, at *11 (“Although first-hand observation is obviously the most

 common form of personal knowledge, that is not the only basis for it.”). Requiring an employer

 to produce a witness who personally observed the signing of an arbitration agreement, as

 Gonzalez suggests, would hog-tie employers like TCFI in defending their agreements because

 they have thousands of employees in hundreds of restaurants across the US.

        Turning to the Lewis declaration exhibits, Gonzalez attacks them too by labeling them as

 “hearsay.” The exhibits cannot be excluded as hearsay because the business records exception in

 FRE 803(6) applies. As Lewis states in her declaration, the exhibits are true and correct records

 of the certified English version of the arbitration agreement (Exhibit A), the certified Spanish

 version of the arbitration agreement (Exhibit B), and certified Spanish version of the separate

 employee handbook acknowledgement form signed by Gonzalez (Exhibit C). See Lewis Supp.

 Decl. ¶¶ 8-10 & Exs. A-C. Lewis states that TCFI creates these records at or near the time they

 are distributed to employees; that TCFI maintains these records as part of its regular human

 resources activity; and that TCFI keeps these records in the ordinary and regular course of

 business. See id. ¶¶ 2, 8-10. These records are therefore business records within the meaning of

 FRE 803(6) and not excludable under the rule against hearsay.

 IV.    The Spanish version of the arbitration agreement compels arbitration.

        Gonzalez claims the arbitration agreement is not clear and distinct on compelling

 arbitration. Gonzalez is wrong. The arbitration agreement is clear and distinct that if any

 “differences,” “claims,” or “disputes” arise between Gonzalez and TCFI “during” or “following”

 his employment and those differences, claims, or disputes are not resolved internally, Gonzalez

 agrees “to participate in arbitration proceedings.” The paragraph containing this language is

 distinct from the other paragraphs in the handbook acknowledgment page because it required



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 separate initialing and agreement by Gonzalez.

        Gonzalez further claims that the arbitration agreement cannot compel him to arbitration

 because TCFI did not make arbitration a condition of employment. According to Gonzalez,

 “[a]lthough TCFI made ‘participation in impartial-dispute resolution proceedings’ a condition

 of employment, it did not make arbitration a condition of continued employment.” Opp. at 14

 (italics in original). As three courts have already recognized, the syntax clearly indicates that

 “impartial-dispute resolution proceedings” refers to “arbitration proceedings.” To read it

 otherwise would render the last sentence in the arbitration agreement superfluous. Int’l

 Multifoods Corp. v. Com. Union Ins. Co., 309 F.3d 76, 86 (2d Cir. 2002) (“We disfavor contract

 interpretations that render provisions of a contract superfluous.”).

        Gonzalez also says that the arbitration agreement is illusory because of disclaimers on

 pages 13 and 64 of the handbook. The Sedelnikova court rejected this very argument in holding

 that the “arbitration agreement does not have to specifically provide that [TCFI] is bound to have

 the legal effect of binding [TCFI].” Sedelnikova, 2010 WL 2367387 at *6. The EEOC case did

 so too albeit on different grounds: under Arizona contract law, “when an employer changes the

 terms of at-will employment, it essentially makes a new offer of employment, and the employee

 may accept the new offer by performance, thus forming a new unilateral contract,” and thus

 TCFI exercising its right to change any policies in the future “would merely create a new offer of

 employment for the future and could not affect the arbitration as to any prior period of completed

 work.” EEOC, 2009 WL 1259359 at *4. New York contract law is in accord with Arizona

 contract law and further holds that employee handbook disclaimers do not prevent the formation

 of arbitration agreements. See, e.g., Manigault v. Macy’s E., LLC, 318 F. App’x 6, 8 (2d Cir.

 2009) (“An employee may consent to a modification to the terms of employment by continuing



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 to work after receiving notice of the modification.”); Patterson v. Raymours Furniture Co., 96 F.

 Supp. 3d 71, 78 (S.D.N.Y. 2015) (stating that “the disclaimers at the beginning of the Handbook

 do not prevent contract formation with respect to the [Employment Arbitration Program]”).

         Finally, Gonzalez argues that TCFI’s use of the word “participate” renders the arbitration

 agreement non-binding. Gonzalez offers several suggestions on how TCFI should have drafted

 the agreement and then cherry-picks quotes from a U.S. Supreme Court search and seizure case,

 Forbes article, Chicago Tribune article, and Florida federal district court case. Leaving aside

 Gonzalez’s cherry-picked citations, his argument is meritless for three simple reasons. First,

 Merriam-Webster’s online dictionary defines “participate” as “to take part,” meaning that

 Gonzalez      was     agreeing      to    take     part    in    arbitration.    See     https://www.merriam-

 webster.com/dictionary/participate. Second, three courts reviewed the exact same verb in the

 exact same arbitration agreement and held that arbitration was mandatory and not voluntary.

 Third, cases in the Second Circuit are full of references to parties “participating” in mandatory

 arbitration. See, e.g., Citigroup Inc. v. Sayeg Seade, No. 21 CIV. 10413 (JPC), 2022 WL 179203,

 at *10 (S.D.N.Y. Jan. 20, 2022) (“[T]he Court compels arbitration and orders Sayeg to

 participate in the Arbitration.”).2 So the Court should reject Gonzalez’s strained reading of the

 word “participate” in the arbitration agreement.

 V.      The Spanish version of the arbitration agreement calls for individual arbitration.

         Gonzalez argues that the short-form arbitration agreement that he signed does not

 preclude his “ability to assert class claims in arbitration.” Opp. at 17. Gonzalez compares the

 short-form arbitration agreement with the long-form arbitration agreement and claims that the


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   Indeed, if one runs the search “participat!" /s "arbitration" on Westlaw Edge and sorts by “2nd Circuit,” one will
 get 1,942 case hits. This indicates the word “participate” is commonly used by courts in conjunction with mandatory
 arbitration.



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 latter but not the former contains class-action waiver language. Gonzalez’s argument is a red

 herring. TCFI is moving to compel arbitration based on the short-form arbitration agreement—

 which is the applicable agreement signed by the parties. The plain language of that agreement

 shows that the parties intended individual arbitration only. Gonzalez does not and cannot respond

 to the plain language in the applicable agreement: the only two parties mentioned are Gonzalez

 and TCFI; the singular pronoun “I” is repeatedly used; there is no reference to putative class

 members, employee groups, or the like; and there is no reference to class actions, collective

 actions, or the like. Although Gonzalez speculates on what TCFI’s intentions were when they

 drafted the short-form arbitration agreement, the plain language of the agreement is what

 controls and not Gonzalez’s speculation as to what TCFI may or may have not been thinking

 when they drafted the agreement. John Hancock Life Ins. Co. v. Wilson, 254 F.3d 48, 58 (2d Cir.

 2001) (“Like any other contract, courts must interpret an arbitration provision to give effect to

 the parties’ intent as expressed by the plain language of the provision.”) (emphasis added). To

 the extent Gonzalez is claiming that the plain language is silent or ambiguous as to the

 availability of a class action, neither silence nor ambiguity is enough to force TCFI into a class

 arbitration. Lamps Plus, Inc. v. Varela, 139 S.Ct. 1407, 1412 & 1416 (2019).

                                         CONCLUSION

        For these reasons and those in TCFI’s opening brief, the Court should stay the case and

 compel Gonzalez to individual arbitration.

        Dated: May 20, 2022




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                                            Respectfully submitted,

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                                    CERTIFICATE OF SERVICE

         I, Stephen Stecker, certify that the DEFENDANT’S REPLY IN SUPPORT OF

 MOTION TO STAY CASE AND TO COMPEL INDIVIDUAL ARBITRATION was filed

 on May 20, 2022, using the Court’s Electronic Case Filing (ECF) system, which will send notice

 of the filing to Plaintiff’s attorney:

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